
PER CURIAM.
Affirmed. See § 45.031, Fla. Stat. (2018) ; IndyMac Fed. Bank FSB v. Hagan, 104 So. 3d 1232, 1236 (Fla. 3d DCA 2012) (holding: "Florida case law is clear that the substance of an objection to a foreclosure sale under section 45.031(5) must be directed toward conduct that occurred at, or which related to, the foreclosure sale itself"); Mody v. Cal. Fed. Bank, 747 So. 2d 1016, 1017-18 (Fla. 3d DCA 1999) (holding: "In order to vacate a foreclosure sale, the trial court must find: (1) that the foreclosure sale bid was grossly or startlingly inadequate; and (2) that the inadequacy of the bid resulted from some mistake, fraud or other irregularity in the sale.")
